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                          IN THE UNITED STATES DISTRICT COURT                          FILED
                         FOR THE SOUTHERN DISTRICT OF GEORGI A                              -00 T
                                   BRUNSWICK DIVISION                                UUHS`WiCK DIV.

                                                                                105 OCT   h A10:
CHRISTOPHER LEE McBEE ,

                 Petitioner,

          vs.                                              CIVIL ACTION NO. CV205-04 5
UNITED STATES OF AMERICA ,                                 (CASE NO . CR295-6 )
                 Respondent .



                                            ORDER


          After an independent review of the record, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed . Accordingly,

the Report and Recommendation of the Magistrate Judge is adopted as the opinion of the
Court .

          The motion for modification, filed pursuant to 28 U .S .C .A. § 3582(c)(2), is DENIED .

The Clerk of Court is hereby authorized and directed to enter an appropriate Judgment of
Dismissal
            .-(~
          SO ORDERED , this __ _' ray of , 2005 .




                                                    JUDGE, UNITED S *TES DISTRICT
                                                    SOUTHERN DISTRICT OF GEORGIA
